     Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 1 of 24 PageID #: 1685
AO 245C          (Rev. 02/16) Amended Judgment in a Criminal Case                                                 (NOTE: Identify Changes with Asterisks(*))
                 Sheet I


                                              UNITED STATES DISTRICT COURT
                                                             EASTERN District of NEW YORK

            UNITED STATES OF AMERICA                                          AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.
                          FARRUKH BAIG                                        Case Number: CR-13-351-001
                                                                              USM Number: 82409-053
Date of Original Judgment: 4/27/2015                                          JOSEPH CONWAY ESQ.
(Or Date of Last Amended Judgment)                                            Defendant's Attorney

Reason for Amendment:
~ Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))             D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.              D Modification of Imposed Term of Imprisonment for Extraordinary and
     P. 35(b))                                                                   Compelling Reasons (18 U.S.C. § 3582(cX1))
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))         D Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                 to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
D Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                              0 Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                0 18 U.S.C. § 3559(c)(7)
                                                                              D Modification of Restitution Order (18 U.S.C. § 3664)

TlfE DEFENDANT:                                                                                                               FILED             i::
if' pleaded guilty to count(s)           COUNT ONE (1) AND TWO (2) OF THE INDICTMENT                                   IN CLERK'S OFFIC _.
                                                                                                                 U.S. DISTRIC''f cour .. -.. ~Iv.
D pleaded nolo contendere to count(s)
      which was accepted by the court.
D was found guilty on count(s)
                                                                                                                 * JUL 26 2016
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:                                                            LONG ISLAND O.
Title & Section                        Nature of Offense                                                      Offense Ended                   Count


 8USC1324, 8USC1324(                    CONSPIRACY TO CONCEAL AND HARBOR ALIENS                                6/12/2013                      TWO (2)


       The defendant is sentenced as provided in pages 2 through _ _ _6___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
r£Count(s) 3 THROUGH 15                          D is
         It is ordered that the defendant must notify the United States Attorney for this                                     change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by                                    f ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in




                                                                                                                             U.S.D.J.

                                                                                                                   6
i   '   •    \   Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 2 of 24 PageID #: 1686
        AO 245C        (Rev. 02/16) Amended Judgment in a Criminal Case
                       Sheet 2 - Imprisonment                                                                       (NOTE: Identify Changes with Asterisks(*))
                                                                                                               Judgment -   Page     2      of          6
        DEFENDANT: FARRUKH BAIG
        CASE NUMBER: CR-13-351-001

                                                                          IMPRISONMENT

              The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
        term of:
        COUNT ONE (1 ): EIGHTY SEVEN (87) MONTHS; COUNT TW0(2): EIGHTY SEVEN (87) MONTHS CONCURRENT WITH
        THE TERM IMPOSED ON COUNT ONE(1)



        D          The court makes the following recommendations to the Bureau of Prisons:




        ~          The defendant is remanded to the custody of the United States Marshal.

        D          The defendant shall surrender to the United States Marshal for this district:
                   D     at                                    D     a.m.   D   p.m.      on

                   D     as notified by the United States Marshal.

        D          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                   D     before 2 p.m. on

                   D     as notified by the United States Marshal.

                   D     as notified by the Probation or Pretrial Services Office.


                                                                            RETURN
        I have executed this judgment as follows:




                   Defendant delivered on

        at       - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                           UNITED STATES MARSHAL


                                                                                     By
                                                                                                       DEPUTY UNITED STATES MARSHAL
     Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 3 of 24 PageID #: 1687

 AO 245C       (Rev. 02/16) Amended Judgment in a Criminal Case                                               (NOTE: Identify Changes with Asterisks(*))
               Sheet 3 Supervised Release
                                                                                                           Judgment   Page   Jo: of              6
 DEFENDANT: FARRUKH BAIG
 CASE NUMBER: CR-13-351-001
                                                            SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

COUNT ONE (1 ): THREE (3) YEARS; COUNT TWO (2): THREE (3) YEARS



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shalJ ref~ain from any unlawful use o~ a ~ontrolled
 substance. The defendant shall submit to one drug test within 15 days of release from 1mpnsonment and at least two penod1c drug tests
 thereafter, as determined by the court.
 D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 if The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.
                                           STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any J>ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probat10n officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d!!f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           perm1ss1on of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record1 personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant's
           compliance with such notification requirement.
..
 Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 4 of 24 PageID #: 1688
AO 245C   (Rev. 02/16) Amended Judgment in a Criminal Case
          Sheet 3B - Supervised Release                                                     (NOTE: Identify Changes with Asterisks(*))
                                                                                         Judgment-Page _A__ of                 6
DEFENDANT: FARRUKH BAIG
CASE NUMBER: CR-13-351-001

                        ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
 1. The defendant shall comply with restitution order forfeiture agreement..

 2. The defendant shall make full financial disclosure to the Probation Department.

 3. The defendant shall submit his person, residence, place of business, vehicle or any other premises under his control to
 a search on the basis that the probation officer has reasonable belief that contraband or evidence of a violation of the
 conditions of supervised release may be found. The search must be conducted in a reasonable manner and at a
 reasonable time. The defendant's failure to submit to a search may be grounds for revocation. The defendant shall inform
 any other residents that the premises may be subject to search pursuant to this condition.
     Case
AO 245C    2:13-cr-00351-SJF-SIL
        (Rev.                                   Document
              06/05) Amended Judgment in a Criminal Case 300           Filed 07/26/16 Page 5 of 24 PageID #: 1689
 -      Sheet 5 - Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks(*))
                                                                                                Judgment -   Page          of
DEFENDANT:                      FARRUKH BAIG
CASE NUMBER:                    CR-13-351-001
                                        CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                                     Fine                               Restitution
TOTALS          $ 200.00                                       $   0                                $ 2,621,114.97


    The determination of restitution is deferred until
    entered after such determination.
                                                       --- . An Amended Judgment in a Criminal Case (AO 245C) will be
X The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuantto 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                            Total Loss*                          Restitution Ordered                   Priority or Percentage


*Restitution shall be
distributed to the victims
as set forth in the sealed
Appendix A associated
with this order, excluding
the four individuals listea
on Appendix I which the
government inadvertently
attached thereto. The
Court orders that the US
Department of
Labor/Wage & Hour
Division receive and
distribute all restitution
funds consistent with this
judgment and its
attachments. At the end
of a period of 3 years from
the entry of this judgment,                     2,621,114.97                            2,621,114.97
if all of the victims have
not been identified and
located by the US
Department of
Labor/Wage & Hour
Division, the remaining
 restitution funds may be
deposited with the
Department of Treasury.
 All restitution checks shall
 be made payable to "Wage
 Hour-Labor" and mailed
to: U.S. Department of
 Labor/Wage & Hour
 Division, 1400 Old
 Country Rd., Suite 410.
 WestburyNY 11590-
 5119, Attn: Diane Callan,
 Assistant Director


TOTALS                            $ 2.621.114.97                          $    2 621 114.97


O     Restitution amount ordered pursuant to plea agreement $
AO 245C  (Rev. 06/05) Amended Judgment in a Criminal Case
     CaseSheet
          2:13-cr-00351-SJF-SIL
               6 - Schedule of Payments
                                               Document 300 Filed 07/26/16 Page 6 of(NOTE:
                                                                                      24 PageID        #: 1690
                                                                                           Identify Changes with Asterisks (*))
                                                                                                    Judgment - Page    6       of
DEFENDANT:                FARRUKH BAIG
CASE NUMBER:              CR-13-351-001

                                                 SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:


A    x    Lump sum payment of$       200.00               due immediately, balance due


          D not later than                                    , or
          x   in accordance with    D C,      D D,      D     E,or     x F below; or
B    D Payment to begin immediately (may be combined with            D C,        D D, or      D F below); or
C    D Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    x    Special instructions regarding the payment of criminal monetary penalties:
          *2,621, 114.97 Restitution imposed due immediately, and payable at the rate of $25000 payable within 60 days of sentencing
          and, thereafter, payable at a rate of$25 per quarter while m custody, and 10% of monthly gross income while on supervision.
          Restitution shall be distributed to the victims as set forth in the sealed Appendix A associated with this order,
          excluding the four individuals listed on Appendix 1 which the government inadvertently attached thereto. The
          Court orders that the US Department of Labor/Wage & Hour Division receive and distribute all restitution funds
          consistent with this judgment and its attachments. At the end of a period of 3 years from the entry of this judwnent,
          if all of the victims have not been identified and located by the US Department of Labor/Wage & Hour D1vis10n,
          the remaining restitution funds may be deposited with the Department of Treasury. All restitution checks shall be
          made payable to "Wage Hour-Labor" and mailed to: U.S. Department of Labor/Wage & Hour Division, 1400 Old
          Country Rd., Suite 410. Westbury NY 11590-5119, Attn: Diane Callan, Assistant Director


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the c1erk of the court.                                 .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D   Joint and Several

    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
    corresponding payee, if appropriate.


D   The defendant shall pay the cost of prosecution.

D The defendant shall pay the following court cost(s):
x   The defendant shall forfeit the defendant's interest in the following property to the United States:
    See Preliminary Order of Forfeiture attached to this judgment
    Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 7 of 24 PageID #: 1691
     C.ase 2:13-cr-00351-SJF-SIL Document 228-1 Filed 05/05/15 Page 1 of 11 PagelD #: 1095
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1                                                                                  IN CLERK'S OFFICE
                                                                              U S DISTRICT COURT E D N y

        FR:bsg
        F.#2010R02175                                                          *      APR 2 7 Z015       *
                                                                                   LONG ISLAND OFFICE
        UNITED STATES DISTRICT COURT
        EASTERN DIS1RICT OF NEW YORK
        -----------------------------X                          PRELIMINARY
        UNITED STATES OF AMERICA,                               ORDER OF FORFEITURE
               - against-                                       13 CR 0351 (SJF)

        FARRUKH BAIO,

                            Defendant.

        -----------------------------X
                       WHEREAS, on September 22, 2014, FARRUKH BAIG (the "Defendant")

        entered a plea of guilty to Counts One and Two of the above-captioned indictment, charging

        violations of 8 U.S.C. §§ 1324(a)(l)(A)(v)(I), 1324(a)(l)(B)(i), 18 U.S.C. §§ 1343 and 1349;

                       WHEREAS, pursuant to 8 U.S.C. § 1324(b)(l), 18 U.S.~.§§ 981(a)(l)(C) and

        982(a)(6}, 28 U.S.C. § 2461(c) and 21U.S.C.§853(p), the Defendant consents to the entry and

        forfeiture of the following:

                               a)        a forfeiture money judgment in the amount of five million six

        thousand four hundred eighteen dollars and six cents ($5,006,418.06) (the "Forfeiture Money

        Judgment");

                               b)        all right, title and interest accorded to the franchisee pursuant to

        that certain Store Franchise Agreement dated November 11, 1988 for 7-Eleven store number

        16440 located in Cutchogue, New York, and all proceeds traceable thereto;

                               c)        all right, title and interest accorded to the franchisee pursuant to

        that certain Store Franchise Agreement dated November 8, 1993 for 7-Eleven store number
      • Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 8 of 24 PageID #: 1692
'   • _,.._,_     -   • ,;   ,,,;,,,.   I




                C~se 2:13-cr-00351-SJF-SIL         Document 228-1 Filed 05/05/15 Page 2 of 11 PagelD #: 1096




                      34450 located in Smithtown, New York, and all proceeds traceable thereto;

                                            d)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Store Franchise Agreement dated November 4, 1994 for 7-Eleven store number

                      11194 located in Selden, New York, and all proceeds traceable thereto;

                                            e)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Individual Franchise Agreement dated June 30, 2004 for 7-Eleven store number

                      11204 located in Islip, New York, and all proceeds traceable thereto;

                                            f)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Individual Store Franchise Agreement dated May 13, 2004 for 7-Eleven store

                      number 27642 located in Sag Harbor, New York, and all proceeds traceable thereto;

                                            g)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Individual Store Franchise Agreement dated May 13, 2004 for 7-Eleven store

                      number 20093 located in Greenport, New York, and all proceeds traceable thereto;

                                            h)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Store Franchise Agreement dated March 8, 1996 for 7-Eleven store number 23924

                      located in Port Jefferson Station, New York, and all proceeds traceable thereto;

                                            i)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Individual Store Franchise Agreement dated September 25, 2009 for 7-Eleven

                      store number 34298 located in Nesconset, New York, and all proceeds traceable thereto;

                                            j)     all right, title and interest accorded to the franchisee pursuant to

                      that certain Individual Store Franchise Agreement dated June 13, 2008 for 7-Eleven store

                      riumber 23030 located in Portsmouth, Virginia, and all proceeds traceable thereto;
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                          k)     all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated October 13, 2008 for 7-Eleven store

    number 33718 located in Chesapeake, Virginia, and all proceeds traceable thereto;

                          I)     all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated January 8, 2009 for 7-Eleven store

    number 33533 located in Norfolk, Virginia, and all proceeds traceable thereto;

                         m)      all right, title and interest accorded to the :franchisee pursuant to

    that certain Individual Store Franchise Agreement dated December 13, 2007 for 7-Eleven store

    number 33329 located in Chesapeake, Virginia, and all proceeds traceable thereto;

                         n)      all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated August 18, 2011f6r7-Eleven store

    number 25839 located in Newport News, Virginia, and all proceeds traceable thereto;

                         o)     all right, title and interest accorded to the franchisee pursuant to

   ·that certain Individual Store Franchise Agreement dated November 2, 2007 for 7-Eleven store

    number 33349 located in Virginia , Virginia, and all proceeds traceable thereto;

                         p)     all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated December 13, 2007 for 7-Eleven store

    number 32963 located in Chesapeake, Virginia, and all proceeds traceable thereto;

                         q)     all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated October 26, 2009 for 7-Eleven store

    number 27188 located in Norfolk, Virginia, and all proceeds traceable thereto;

                         r)     all right, title and interest accorded to the franchisee pursuant to
Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 10 of 24 PageID #: 1694
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    that certain Individual Store Franchise Agreement dated September 27, 2010 for 7-Eleven

    store number 24343 located in Norfolk, Virginia, and all proceeds traceable thereto;

                          s)        all right, title and interest accorded to the franchisee pursuant to

    that certain Individual Store Franchise Agreement dated October 29, 2007 for 7-Eleven store

    number 29104 located in Manassas, Virginia, and all proceeds traceable thereto;

                          t)        the real property and premises located at 1000 9th Street Unit

    #056, Driftwood Cove, Greenport, New York 11944, and all proceeds traceable thereto;

                          u)      $6,567.00 in United States currency seized on or about June 17,

    2013 from 7-Eleven store number 16440 located at 28905 East Main Street, Cutchogue, New .

    Y prk, and all proceeds traceable thereto;
                                                                         -
                          v)      $4,764.00 in United States currency seized on or about June 17,

    2013 from 7-Eleven store number 34450 located at 710 Route 347, Smithtown, New York, and

    all proceeds traceable thereto;

                          w)      $8,430.00 in United States currency seized on or about June 17,

    2013 from 7-Eleven store number 11194 located at 1316 Middle Country Road, Selden, New

    York, and all proceeds traceable thereto;

                          x)      $29,774.95 in United States currency seized on or about June 17,

    2013 from 7-Eleven store number 11204 located at 2715 Union Blvd, Islip, New York, and all

    proceeds traceable thereto;

                          y)   $24,618.00 in United States currency seized on or about June 17,

    2013 from 7-Eleven store number 27642 located at 22 Water Street Shops, #20, Sag Harbor,

    New York, and all proceeds traceable thereto;
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                           z)    $9,803;00 in United States currency seized on or about June 17,

     2013 from 7-Eleven store number 20093 located at 747 Main Road, Greenport, New York, and

     all proceeds traceable thereto;

                           aa)    $48,920.50 in United States currency seized on or about June 17,

     2013 from 7-Eleven store number 23924 located at 500 Old Town Road, Port Jefferson

     Station, New York, and all proceeds traceable thereto;

                           bb)     $5,461.00 in United States currency seized on or about June 17,

     2013 from 7-Eleven store number 34298 located at 235 Smithtown Blvd, Nesconset, New

     York, and all proceeds traceable thereto;

                           cc)     $6,715 .26 in United States currency seized on or about June 17,

     2013 from Capital One Bank, AccountNwnber 06326042378, held in the names ofFarrukh

     and Bushra Baig, and all proceeds traceable thereto;

                           dd)     $9,000.00 in United States currency along with approximately 53

     items of assorted jewehy seized on or about June 17, 2013 from ID Bank safe deposit box

     number 414, held in the names of Farrukh and Bushra Baig, located at 621 Lake Avenue, St.

     James, New York 11780, and all proceeds traceable thereto;

                           ee)    Foreign currency worth approximately $5,315.82 in United States

     currency, approximately 10 collectible foreign currency items worth approximately $270.00 in

     United States cUITency, 12 Gold Bars, and approximately 124 items of assortedjewehy seized

     on or about June 17, 2013, from TD Bank safe deposit box number 845, held in the names of

     Bushra Baig & Mustafa Rehmani, located at 621 Lake Avenue, St. James, New York 11780,

     and all proceeds traceable thereto; and
Case
   .I 2:13-cr-00351-SJF-SIL
       ~-····. '··-'-- • • ···-··'
                          I-~--~-'~
                                   Document 300 Filed 07/26/16 Page 12 of 24 PageID #: 1696
                                            •   ... . . . . j   -·   ..   • . ~- ...._   .. _____ . . . . -   ••••••




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                           ft)        approximately 220 items of assorted jewelry seized on or about

     Jwie 17, 2013, from Capital One Bank safe deposit box number 19-150, held in the names of

    Malik Yousef, Mehnaz Yousef and Farrukh Baig, locat~ at 532 Old Town Road, Port

    Jefferson, New York 11776, and all proceeds traceable thereto.

                   (items (b) through (fl), collectively, the ''Forfeited Assets"). Defendant

    acknowledges that the Forfeited Asset represent (a) property, real or personal, that constitutes

    or is derived :from proceeds traceable to the defendant's violations of 18 U.S.C. §§ 1343 and

    1349; (b) gross proceeds of the defendant's violations of 8 U.S.C. §§ 1324(a)(l)(A)(v)(I) &

    1324(a)(l)(B)(i), or property traceable to such proceeds; (c) property, real or personal, that

    constitutes or is derived from proceeds obtained directly or indirectly, from the commission of

    the defendant's violations of 8 U.S.C. §§ 1324(a)(l)(A)(v)(l) & 1324(a){l)(B)(i) or that was

    used to facilitate or intended to facilitate the commission of such offenses; and/or (d) are

    substitute assets pursuant to 21 U.S.C. § 853{p).

                  NOW THEREFORE IT IS HEREBY ORDERED, ADJUDGED AND

    DECREED, as follows:

                   1.     The Defendant shall forfeit to the United States, pursuant to 8 U.S.C.

    § 1324(b)(l), 18 U.S.C. §§ 98l(a)(l)(C) and 982(a){6), 28 U.S.C. § 2461(c) and 21 U.S.C.

    § 853(p), all right, title and interest in the Forfeiture Money Judgment and the Forfeited Assets.

    The value of the Forfeited Assets shall not be credited towards payment of the Forfeiture

    Money Judgment.

                  2.      The defendant shall fully assist the government in effectuating th~

    payment of the Forfeiture Money Judgment, which shall be paid in full on or before the date of
Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 13 of 24 PageID #: 1697  ·•·   •   •   -   'j   ~--~·-··--•••   •r••-·--•-'-•



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    the entry of his guilty plea (the "Due Date"). The Forfeiture Money Judgment shall be paid by

    certified or bank check, made payable to "United States Customs and Border Protection" and

    shall be delivered by overnight via Federal Express to Asset Forfeiture Paralegal Brian Gappa,

    United States Attorney's Office, Eastern District ofNew York, at 610 Federal Plaza, Central

    ~slip, New York 11722, with the criminal docket number noted on the face of the check. Ifthe

    Defendant fails to pay any portion of the Forfeiture Money Judgment on or before the Due

    Date, interest shall accrue thereon at the judgment rate.

                   3.       The Defendant has represented that he will fully disclose all of his assets

    to the United States within thirty (30) days from the date of sentencing in the United States

    Department of Justice Financial Statement (the "Financial Statementn). If the Defendant has

    failed to disclose to the government any assets in which he has any interest (the "undisclosed

    assets"), the United States shall forfeit all such undisclosed assets, if any, up to the amount of

    the Forfeiture Money Judgment. If the Forfeiture Money Judgment is not paid in full to the

    United States, or if the Forfeited Assets, or any portion thereof, are not forfeited to the United

    States, the United States may seek to enforce this Preliminary Order ofFoi-feiture against any

    other assets, real or personal, of the Defendant up to the value of the Forfeiture Money

    Judgment pursuant to 21 U.S.C. § 853(p), the Federal Debt Collection Procedures Act, or any

    other applicable law.

                  4.        The United States shall publish notice of this Preliminary Order, in

    accordance with the custom and practice in this district, on the government website

    www.forfeiture.gov, of its intent to dispose of the Forfeited Assets in such a manner as the
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Case 2:13-cr-00351-SJF-SIL          ,,.~~.       . ..... .
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      Attorney General or his designee may direct. The United States may, to the extent

      practicable, provide direct written notice to any person known or alleged to have an interest in

      the Forfeited Assets as a substitute for published notice as to those persons so notified.

                     5.     Any person, other than the defendant, asserting a legal interest in the

    · Forfeited Assets may, within thirty (30) days of the final publication of notice or receipt of

     notice. or no later than sixty ( 60) days after the first day of publication on an official

     government website, whichever is earlier, petition the Court for a hearing without a jury to

     adjudicate the validity of his alleged interest in the Forfeited Assets, and for an amendment of

     the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed in i:esponse to the

     notice of forfeiture of the Forfeited Assets must be signed by the petitioner under Penalty of

     perjucy and shall set forth the nature and extent of the petitioner's right, title and interest in the

     property, the time and circumstances of the petitioner's acquisition of the right, title, or interest

     in the property, any additional facts supporting the petitioner's claim, and relief sought.

                    6.      The defendant shall not file or interpose any claim or assist others to file

     or interpose any claim to the Forfeited Assets or the Forfeiture Money Judgment in any

     administrative or judicial proceeding. The defendant shall fully assist the government in

     effectuating the surrender and forfeiture of the Forfeited Assets and the Forfeiture Money

     Judgment to the United States. The defendant shall take whatever steps are necessary to

     ensure clear title to. the Forfeited Assets passes to the United States, including the execution of

     any and all documents necessary to effectuate the surrender and forfeiture of the Forfeited

     Assets to the United States. If the Forfeited Assets or the Forfeiture Money Judgment or any
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    portion thereof, is not forfeited to the United States, the United States may seek to enforce this

    Order against any other assets of the defendant up to the value of the Forfeited Assets and the

    outstanding balance of the Forfeiture Money Judgment, pursuant to 21 U.S.C. § 853(p), the

    Federal Debt Collection Procedures Act, or any other applicable law.

                   7.      The defendant knowingly and voluntarily waives his right to any

    required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

    including notice set forth in an indictment or information. In addition, the defendant

    knowingly and voluntarily waives his right, if any, to a jury trial on the forfeiture of said

    monies and/or properties, including, but not limited to, any defenses based on principles of

    double jeopardy, the Ex Post Facto clause of the Constitution, the statute oflimitations, venue,

    or any defense under the Eighth Amendment, including a claim of excessive fines.

                   8.     Pursuant to Fed. R Crim. P. 32.2(b)(4)(A) and (B), this Order of

    Forfeiture shall become final at the time of the defendant's sentencing and shall be made part

    ofthe Defendant's sentence and included in his judgment of conviction. If no third party files

    a timely claim, this Order, together with Supplemental Orders of Forfeiture, if any, shall

    become the Final Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2). Afthat

    time, the properties forfeited herein shall be forfeited to the United States for disposition in

    accordance with the law.

                  9.      Upon entry of this Order, the United States Attorney General or his

    designee is authorized to seize the Forfeited Assets and to conduct any proper discovery, in

    accordance with Fed. R Crim. P. 32.2(b)(3) and (c), and to commence any applicable
Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 16 of 24 PageID #: 1700
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                                          1104




     proceeding to comply with statutes governing third-party rights, including giving notice of this

     Order. The United States alone shall hold title to the monies paid by the defendant to satisfy

     the Forfeiture Money Judgment following the Court's entry of the judgment of conviction.

     The United States alone shall hold title to the Forfeited Assets following the Court's

     disposition of all third-party interests, or, if none, following the expiration of the period

     provided in 21 U.S.C. § 8S3(n)(2).

                    10.    The forfeiture of the Forfeited Assets and the entry and payment of the

     Forfeiture Money Judgment shall not be consid~ a payment of a fine, penalty, restitution

     loss amount, or any income taxes that may be due, and shall survive bankruptcy.

                    11.    This Order shall be binding upon the Defendant and the successors,

     administrators, heirs, assigns and transferees of the Defendant, and. shall survive the

     bankruptcy of any of them.

                    12.    This Order shall be fmal and binding only upon the Court "so ordering''

    the order.

                    13.    The Court shall retain jurisdiction over this action to enforce this Order

    and to amend it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).

                    14.    The Clerk of the Court is directed to send, by inter-office mail, five

    certified copies of this executed Order to FSA Asset Forfeiture Paralegal Brian Gappa, United
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     States Attorney's Office, Eastern District of New York, at 610 Federal Plaza, 5th Floor, Central

     Islip, New York 11722.                              I
     Dated: Cen~}1ip, New York
            Aprill2015
                                                 s/ Sandra J. Feuerstein
                                                    "
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                                                        United States .Attorney
                                                        Eastern District ofNew York
                                                        271 Cadman Plaza EaJt
        CAO
                                                        Broolclyn, New York 11201
        F. #2010R02175


                                                        April 15, 2015

        By ECF and Via Email
        TO BE SUBMITTED UNDER SEAL

        The Honorable Sandra J. Feuerstein
        United States District Court
        Eastern District of New York
        1020 Federal Plaza
        Central Islip, New York 11722

                     Re:     United States v. Farrukh Baig. Malik Yousaf and Bush@ Baig. et al.,
                             t3CR35 l (SJF)

        Dear Judge Feuerstein:

                       The government writes separately to file the victim list referenced in the
        government's sentencing memoranda for the above-referenced defendants. Because
        Appendix A gives the names and addresses of victims, the government submits this letter and
        the attached appendix under seal.

                     Please do not hesitate to contact me if you have any concerns or questions.


                                                        Respectfully submitted,

                                                        LORETTA E. LYNCH
                                                        United States Attorney

                                                 By:    ~'-S~~~~~~~~~
                                                        Christopher A. Ott
                                                        Assistant U.S. Attorney
                                                        (718) 254-6154


        CC:   Counsel (Via Email)
Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 19 of 24 PageID #: 1703
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         Attachment: Appendix A




                                            2
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                                                Apoendix 1

        Restitution shall be apportioned in the following manner amongst the victims:
        $638,680.97 to victim Roberta Hodes;
        $507,708.25 to victim Margaret Vasily;
        $713,345.91 to victim Tony Lin; and
        $200,000.00 to victim Richard Howk




                                                   3
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        Appendix A. United States v. Zahid Baig. et a}., 13CR35 l (SJF)

                                                                      Zip
       First Name   Last Name     EE Address       City      State   Code      BWsdue
                                  4 Greenway
          Dalia      Castillo                   Manorville   NY      11949    $11.905.00
                                     Rd#7
                                  29826 Main
         Shaulcat    Chaudry                    Cutcho2ue    NY      11935    $23,660.05
                                     Road
                       Doe
          John                                                                $1 514.00
                    Cutcho2ue
                                   18 Adams
         Muncer       Helean        Street      Greenoort    NY      ll944    $25.989.50
                                   902 West
          Safdar       Iqbal                                 NY      ll901    $23 746.67
                                  Main Street   Riverhead
                                    212 5th
          Ulises      Lopez                                          11944    $1,054.50
                                    Avenue      Greennort    NY
                                  29825 Main
         Khalid     Mahmood
                                     Road       Cutchowe     NY      11935    $42.250.00
                                      31
       Mohammed       Nazir       Meadowlark
                                     Lane       Sa2Harbor    NY      ll963    $7 901.52
                     Siguenza       318 5th
        Alezander                   Avenue      Greennort    NY      ll944     $994.66
                      Torrez
                                    54 Blue
        Manzoor      Ahmed
                                  Point Road      Selden     NY      11784    $3,081.79
                                    54 Blue
         Wasim        Ahmed
                                  Point Road      Selden     NY      11784    $9.459.00
                     Carbajal
         Benigna
                     Ramirez      P.O. Box57    Cutcho2ue    NY      11935    $3.ll9.04
                                   40South
          Juan      Castellanos
                                     Road       Greenoort    NY      l 1944   $11,550.50
                     Doe t
          John
                    Greennort                                                 $3,262.50
                     Doe2
          John
                    Greennort                                                 $4,837.50
                      Doe3
          John
                    Greennort                                                 $10,575.00
                     Doe4
          John
                    Greennnrt                                                 $17 550.00
                     Does
          John
                    Greennnrt                                                 $8,437.50
                                  22345 Main
         Maria        Giron
                                     Road       Cutcho2:uc           11935    $2,098.75
         Patricia     LNU                                                      $499.50
                                  336 Second
         Maria        Lopez
                                    Street      Greenport    NY      11944    $15.773.20
         Abdul       Oadir                                                    $22,239.36
                      Ruiz        235 Fourth
        Marlene                                 QreenDOrt
                     Amava         Avenue                    NY      ll944    $28.252.38
                    Siguenza       318 5th
        Alezander
                     Torrez        Avenue       Greenoort    NY      11944    $38.419.47
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                 ase ·                               PagelD #: 945
                Aooendlx A, United States v. Zahid Baig. et al., 13CR351 (SJF)

                                                    136 Moffit
                  Saima                  Ali                          Islip       NY   11751    $380.63
                                                      Blvd
                                                    136 Moffit
                 Zulfiqar                Ali                          Islip       NY   11751   $52,114.77
                               ,                      Blvd
                                                    560 Beech
                  Rizwan               Ashgar                     No. Babylon     NY   11703   $16.141.63
                                                      Street
                 Sancullah            Chauarv                                                    $432.00
                   John              Doe l Islip                                               $1,000.00
                   John              Doe2 Islip                                                 $5.544.00
                   John              Doe 3 lslio                                               $9.600.00
                   John              Doc4 Islio                                                $11 600.00
                                                    37 Sundial
                  lmran                 Saeed                       Belloort      NY   11713   $16.737.00
                                                       Lane
                                                        46
                  Zuhair                Zahir       Farrington
                                                     Avenue        Bay Shore      NY   11706   $1,272.00
                                                    560Beech
                  Adnan       A        Ashgar
                                                      Street      No Babylon      NY   11703   $19.856.00
                                       Doe 1
                   John                                                                        $1.280.00
                                      Nesconset
                                       Doe2
                   Juan
                                      Nesconset                                                $18,176.00
                                       Doe3
                   John
                                      Nesconset                                                $2,992.00
                                                     66College
                  Binod                Gautam
                                                        Road         Selden       NY   11784    $695.00
                                                     191 Bergen        Port
                 K.amran               Hussain
                                                       Street     Jefferson Sta   NY   11776   $23 712.00
                                                    66 Sheppard
                  Ahsan                 Javed
                                                        Lane       Smithtown      NY   11787   $7,798.25
                                                    66 Sheppard
                Mohammed                Javed
                                                        Lane       Smithtown      NY   11787   $41.610.50
                   Paul                 LNU                                                    $6 480.00
                                                     160 West
                  Ass an               Mah bub
                                                     3rd Street   Ronkonkoma      NY   11779    $684.00
                                                     160 West
                   MD                 Mahbub
                                                     3rd Street   Ronkonkoma      NY   11779   $5.032.00
                                                     902 West
                Nadarajan                Pal
                                                    Main Street    Riverhead      NY   11901   $20.584.72
                                                    191 Bergen         Port
                  Khalil               Ahmed
                                                       Street     Jefferson Sta   NY   11776   $5.184.00
                                                    340East 5
                  Syed       Amir      Ashraf
                                                       Street       Brooklvn      NY   11218   $5,124.50
                                                    191 Bergen         Port
                  Afzaal     Ahmed      Butt
                                                      Street      Jefferson Sta   NY   11776   $34.100.00
                                     Doe 1 Port
                  John
                                     Jeff Station                                              $3,328.00
                                     Doe2 Port
                  John
                                     Jeff Station                                               $480.00
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                                        Doc 3 Port                                                    $10.240.00
                   John                 Jeff Station
                                                                                                      $12.480.00
                   Meral                   LNU
                                                                                                       $8,320.00
                   Raul                    LNU
                                                       191 Bergen        Port
                   Cris                   Salcedo         Street     Jefferson Sta    NY      11776   $20 861.25
                                                       191 Bergen         Port
                Muhammad      Khalid      Siddiqi                    Jefferson Sta    NY      11776   $31.945.SO
                                                          Street
                                                           31
                  Angelito               Baliwage      Meadowlark
                                                          Lane       Sag, Harbor       NY     11963   $39.176.80
                                           Bueno       45 Division
                   Jenny      Dolores      Arias          Street      Saa Harbor       NY     11963   $40.212.33
                                         Doe 1 Sag
                   John                   Harbor                                                       $1,008.00
                                         Doc2 Sag
                    John                  Harbor                                                       $5 040.00
                                         Doe3 Sag
                    John                  Harbor                                                        $864.00
                                         Doe4Sag
                    John                  Harbor                                                       $4,608.00
                                         Doe5 Sag
                    John                  Harbor                                                      $19.008.00
                                         Martinez-      31 Carroll
                   Jorge                                              Sag Harbor       NY     11963   $23.679.43
                                          Amava           Street
                                                            31
                 Mohammad      Arif        Nawaz       Meadowlark
                                                           Lane       Sita Harbor      NY     11963   $34.404.00
                                                            31
                Mohammad      Khalid       Nazir       Meadowlark
                                                          Lane        $Ao Harbor       NY     11963   $42.048.00
                  Nasccm                  Qureshi                                                      $3,312.00
                                                            31
                  Rashad                  Rasheed      Meadowlark
                                                          Lane        Saa Harbor       NY     11963   $33,587.58
                                                         54 Blue
                   Wasim                  Ahmed
                                                       Point Road       Selden         NY     11944   $15 910.55
                                                        19 Liberty
                   Javed                   Akbar
                                                         Avenue         Selden         NY     11944   $10,415.00
                                                       22 Marshall
                Muhammad     Siddique       Butt
                                                          Drive         Selden         NY     11944   $12,160.00
                                                       66 College
                   Dipa                    Dahal
                                                          Road          Selden         NY     11944     $540.00
                                           Doe I
                   John
                                           Selden                                                      $2,478.00
                                           Doc2
                   John
                                           Selden                                                     $14,721.78
                                                       25 Hallock.
                  Nasser                  Elkodiri      Meadow
                                                         Drive       Stony Brook       NY     11790    $5 606.44
    Case 2:13-cr-00351-SJF-SIL Document 300 Filed 07/26/16 Page 24 of 24 PageID #: 1708
"           Case 2:13-cr-00351-SJF-SIL Document 228-2 *SEALED* Filed 05/05/15 Page 7 of 7
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               Appendix A, United States v. Zahid Baia. et al., 13CR351 (SJF)

                Dominick    (cousin)      LNU                                                  $10,050.44
                Dominick                  LNU                                                  $9.625.78
                 lshtaia                  LNU                                                   $3.982.50
                  Robin                   LNU                                                   $7.360.89
                                                      73 Marshall
               Muhammed     Jamshed       Malik                                   NY   11784   $11 700.00
                                                         Drive        Selden
                                                      77 Jefferson
                   Aly                  Menessy
                                                        Avenue       St James     NY   11780   $19,890.00
                                                        20 Days
                  Zahid                   Raja                                         11944   $13.640.00
                                                        Avenue        Selden      NY
                                                      777 East31
               Mohammad                   Riaz         St. ant 3R    Brooklyn     NY   11210   $1.836.00
                                                       19 Liberty
                  Saul                   Saldana
                                                        Avenue        Selden      NY   11944    $256.00
                                                       9Tremont
                  Nisar                 Chaudhry
                                                        Avenue       Brentwood    NY   11717   $2.550.00
                                           Doe
                  John
                                       . Smithtown                                             $11,857.78
                                                        39 East
                 Shabbir                 HUssein        Meadow
                                                         Road        Calverton    NY   11933   $3,608.89
                                                      66 Sheppard
                 Ahsan                    Javed
                                                          Lane       Smithtown    NY   11787   $36.080.00
                  Maria                   LNU                                                  $20,106.67
                   Rai                    LNU                                                  $23,611.11
                 Shema                    LNU                                                  $31.196.67
                                                      732Avenue
                 Ahmad                   Mujtaba
                                                           E         Bavonne      NJ   7002    $5.440.00
                                                      902 West
                Nadarajan                  Pal
                                                      Main Street    Riverhead    NY   11901   $17.813.70

                                                     Total Back Wages: Sl,253,343.48
